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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              Case No. 1:20-cv-21254-BLOOM/Louis

 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

 v.

 JUSTIN W. KEENER, d/b/a JMJ Financial,

       Defendant.
 ________________________________/

                                    ORDER TO SHOW CAUSE

        THIS CAUSE is before the Court upon a sua sponte review of the record. On July 7, 2020,

 the Court ordered the parties to jointly file a proposed order scheduling mediation, setting forth

 their selected mediator pursuant to Local Rule 16.2, and a time, date, and place for mediation. ECF

 No. [23] (“Scheduling Order”). On July 27, 2020, the parties filed a notice of mediator selection,

 but failed to designate a location for the mediation. ECF No. [25] (“Notice”). The Notice provides

 that the mediation will take place “at a location in Miami, Florida to be determined at a later date,”

 and if the mediator decides that “in person mediation is not advisable due to the COVID-19

 pandemic, the mediation will be held by video teleconference.” Id. Accordingly, it is ORDERED

 AND ADJUDGED that no later than July 31, 2020, the parties shall file a supplemental notice

 and proposed order scheduling mediation, as required by the Scheduling Order. The parties shall

 advise if the mediation will be conducted by videoconference, and if not, shall state the location

 for the mediation. Failure to comply will result in sanctions, including, but not limited to, dismissal

 without prejudice without further notice.
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         The parties are reminded that pursuant to the procedures outlined in the CM/ECF

 Administrative Procedures, the proposed order is also to be emailed to bloom@flsd.uscourts.gov

 in   Word     format.   The   CM/ECF     Administrative   Procedures    may    be   viewed    at

 http://www.flsd.uscourts.gov. All other deadlines set forth in the Scheduling Order shall remain

 strictly in place.

         DONE AND ORDERED in Chambers at Miami, Florida, on July 27, 2020.




                                                       _________________________________
                                                       BETH BLOOM
                                                       UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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